NICCND (12/1/15)                UNITED STATES BANKRUPTCY COURT                    U.S. BANKRUPTCY COURT
                                         District of Oregon                        DISTRICT OF OREGON
                                                                                          FILED
In re                                          )
 Donald Wayne Savage                           )                                       October 10, 2018
                                                   Case No. 18−62296−pcm7
 Christine Marilyn Savage                      )                                 Clerk, U.S. Bankruptcy Court
Debtor(s)                                      )   NOTICE OF INTENT
                                               )   TO CLOSE CASE                          BY DEPUTY
                                               )   WITHOUT ENTRY OF
                                               )   DISCHARGE
                                               )

It appearing a certification about a financial management course (debtor education) has not been filed by
each debtor, now, therefore,

NOTICE IS GIVEN that, even if a debtor is otherwise eligible for a discharge, this case may still be closed,
upon completion of all case administration, without entry of a Discharge Order for a noncomplying debtor,
and without further notice per 11 USC §727(a)(11), unless, within 15 days of the FILED date above, a
Certification About a Financial Management Course (the course provider's certificate of completion and/or
Official Form 423) is filed by the debtor(s) with the Clerk, U.S. Bankruptcy Court.

To obtain a list of approved providers for the financial management course, go to www.orb.uscourts.gov
and select Debtor Education Providers under Other Resources.

To obtain Official Form 423, go to www.orb.uscourts.gov and select Official Forms under the Forms menu.

                                                                              Clerk, U.S. Bankruptcy Court
                                                                              405 E 8th Ave #2600
                                                                              Eugene, OR 97401




                           Case 18-62296-pcm7         Doc 12    Filed 10/10/18
